UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF INDIANA

INDIANAPOLIS DIVISION
IN RE: }
CRYSTAL LOUISE SWALLOWS 5 CASE NO, £8-07061-RLM-13
DEBTOR

AGREED MODIFICATION
The parties hereto agree that debtor’s plan must be immaterially modified to resolve an
existing issue. This modification meets the requirements of 11 U.S.C. § 1322 and becomes part
of the debtor’s plan without any necessity for notice herein. The Parties agree as follows:

1. The Proof of Claim of TOLA of Indiana, LLC, regarding their lien on the property on
1204 N, Dearborn, Indianapolis, Indiana, purchased at tax sale, in the amount of
$13,131.32 will be paid through the Debtor's Chapter 13 Plan as follows:

a. The Tax Sale amount of $4,853.04 will be paid through the Plan at an interest rate
of 15% with pre-confirmation adequate protection payments of $200.00 per month,

b. The Trustee will pay interest only at the rate of 5% to TLOA of Indiana, LLC, on
the tax sale overbid amount of $7,146.96, which is being held by the Marion County
Treasurer,

c, The Trustee will also pay in full $1,131.32 to TLOA of Indiana, LLC, representing
the interest that accrued prior to the filing of this bankruptcy proceeding on the tax
sale in the amount of $727.96 and the overbid in the amount of $403.36,

2. Upon tender of the redemption amount in I (a) by the Debtor to the Chapter 13 Trustee, the
Chapter 13 Trustee shall file a Motion with the Court proposing to effectuate the

redemption with the Marion County Treasurer. Upon the Court's approval and the Chapter
13 Trustee’s remittance, the Debtor surrenders any interest in the averbid of $7,146.96, and
the automatic stay with respect to the overbid of $7,146.96 shall be lified. The tax lien
certificate holder (i.c., TLOA of Indiana, LLC) shall be able to assert its claim on said
funds. Also, within 90 days after the Court's approval and the Chapter 13 Trustee's
remittance to the Marion County Treasurer, the Marion County Treasurer shall cancel the
tax Hen against the Debtor's residence commonly known as 1204 N Dearborn Street,
Indianapolis, IN 46201.

3. The Debtor is required to timely pay ongoing real estate taxes and to maintain insurance

on the property and failure to do so would constitute a default,

WHEREFORE, the parties hereto have agreed to the above terms and ask the Court to approve

this Stipulation.
CMAPTER 13 TRUSTEE (OR STAFF COUNSEL)

DATE: Ois/t
Os COUNSEL
DATE: “UF IS ; :
iOkndéeis, Counsel for Creditor, TLOA of indiana, LLC

DISTRIBUTION: Debtor; Debtor's Auamey; Chapter 13 Trustee; U.S. Trustee

 

 

 
